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             EXHIBIT 1
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                      UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA




                                              CASE NO. 3:17-MD-02801-JD
IN RE: CAPACITORS ANTITRUST
LITIGATION


This Document Relates to:
                                        |
All Direct Purchaser Actions
                                        |




                     EXPERT REPORT OF DR. LAILA HAIDER

                               FEBRUARY 22, 2019
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73.        Second, Dr. McClave’s and Dr. Singer’s approach does not permit the fact finder to
determine whether the effects of the alleged conduct were limited to some DPP class members or
extended to all direct purchasers of a given dielectric in the DPP class. This is because an
underlying assumption of their regression approach is that the alleged conduct resulted in the
same overcharge to all direct purchasers of a given dielectric (or sub-type) in the DPP class.
Statistical testing strongly rejects the assumption that a single overcharge applies to all direct
purchasers of a given dielectric. I demonstrate that when I allow Dr. McClave’s estimated
overcharge to vary for each of the top 100 direct purchasers of a given dielectric in the DPP
class, a substantial number of those top direct purchasers did not sustain positive and statistically
significant overcharges (numerous direct purchasers show negative and statistically significant
overcharges).

74.        Third, Dr. McClave’s and Dr. Singer’s estimated overcharges are derived from only a
subset of direct purchasers in the DPP class and a subset of relevant products sold during the
class period. Accordingly, Dr. McClave and Dr. Singer do not establish overcharges for a
substantial proportion of customers and products in the DPP class.

75.        Finally, Dr. McClave makes a misleading and incorrect claim that his “customer-specific
analysis” shows that “all or nearly all customers were impacted by the alleged Conspiracy”164
when, in fact, it is incapable of showing impact for any single customer. This claim is based on
circular reasoning. His does not study whether any particular direct purchaser sustained an
overcharge. His so-called “customer-specific” analysis is predicated on the assumption that all
purchasers of a given dielectric paid the same average overcharge.

           A. Dr. McClave’s and Dr. Singer’s Approach Fails to Establish a Causal Link
              Between the Alleged Conduct and Their Estimated Overcharges

               1. Dr. McClave’s and Dr. Singer’s Approach is Unable to Disentangle the
                  Effects of the Alleged Conduct from Effects of Other Economic Factors

76.        Dr. McClave’s regression estimates a single average overcharge for each dielectric over a
period that spans 12 years of alleged conduct. In doing so, his approach assumes that the effects
of the alleged conduct (i.e., his estimated overcharges) are the same in each year during the class

164
      McClave Report, p. 9.



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period for a given dielectric.165 In contrast, Dr. Marx acknowledges the potential time-varying
effects of the alleged conduct and “allow[s] for the possibility that the efficacy of collusive
conduct varied through time.”166 In fact, statistical testing shows that when I use Dr. McClave’s
own overcharge regression and allow overcharges to vary over time (i.e., when his estimated
overcharge is made flexible over time), most years in the class period show negative and
statistically significant overcharges. This demonstrates two issues with Dr. McClave’s approach.
First, statistical testing rejects his restrictive assumption that the alleged conduct had the same or
uniform effect over time. Accordingly, his finding of overcharges that he applies to all 12 years
of the class period rests on an untested assumption that he incorrectly imposes on the pricing
data. Second, his approach is incapable of disentangling conspiratorial and non-conspiratorial
price effects during the class period. This means that the estimated overcharges he derives are
not causally linked to the alleged conduct. I also note that Dr. Singer’s approach suffers from the
same flaws. Thus, Dr. McClave’s and Dr. Singer’s methodology is unreliable and incapable of
showing economic injury to direct purchasers resulting from the alleged conduct.

77.        Dr. McClave’s regression contains two sets of variables accounting for the passage of
time: (i) his time trend variables, and (ii) his indicator variable that captures a single price shift
between 2002 and 2013 relative to other years. Dr. McClave claims that the former solely
captures the effect of unnamed non-conspiratorial supply and demand factors, and the latter
(which he calls an overcharge) solely captures the effect of conspiratorial factors. Dr. McClave’s
regression assumes that prices followed a particular trend over the relevant period and were
disrupted by a single event—an alleged conduct period that spans 12 years. By construction, his
regression allows for only a single level shift in prices paid for each dielectric resulting from the
alleged conduct. Accordingly, with respect to his overcharge variables, he makes the restrictive
assumption that there were no differences in effects of the alleged conduct (for a given dielectric)




165
   To the extent Dr. McClave attempts to sidestep the issue by stating that his “classwide impact” analysis shows
  varying overcharges across direct purchasers, I explain below that the superficial appearance of variation in Dr.
  McClave’s estimated overcharge is a result of the prediction errors in his model. His approach simply does not
  allow for the effects of the alleged conduct to vary over time. McClave Report, p. 9.
166
      Marx Report, ¶107.



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during the 12 years.167 For his other set of variables capturing the passage of time (i.e., the time
trend), however, he claims the need for “flexibility” and imposes a quadratic form.168

78.        The assumption that the alleged conduct had the same or uniform effect on direct
purchasers over time is testable. I demonstrate using two statistical tests that when Dr.
McClave’s estimated overcharge is allowed to vary over time for each dielectric (i.e., the
overcharge is made flexible over time), most years in the class period show negative and
statistically significant overcharges. In each case, statistical testing rejects Dr. McClave’s
restrictive assumption that the effect of the alleged conduct was the same or uniform over the 12
years.

79.        First, I show that statistical testing strongly rejects Dr. McClave’s assumption that the
estimated overcharges for each dielectric are uniform in each year of the class period.169
Accordingly, Dr. McClave’s approach of pooling sales transactions over time to estimate a single
average overcharge across all years for each dielectric is rejected by the data on actual prices
paid. In fact, the results demonstrate that, by assuming a uniform overcharge over time, Dr.
McClave incorrectly attributes time-varying price effects unrelated to the alleged conduct to the
overcharges he estimates.170 The exhibits below show estimated overcharges by year for each
dielectric when overcharges are allowed to vary by year, but his model is otherwise left
unchanged. Each bar represents the estimated overcharge for a year during the class period. The




167
   The underlying assumption of his approach (and Dr. Singer’s) is that for each dielectric (sub-type), the alleged
  conduct had the same or uniform effect on all direct purchasers in each year during the class period.
168
      McClave Report, p.7.
169
   The statistical test used is an F-test of the hypothesis that the coefficients on yearly indicators for each year
  during the class period are equal (see, Wooldridge, Jeffery M., Introductory Econometrics: A Modern Approach.
  4th ed. 2009., 4th ed., pp. 143-148). The F-statistic is highly statistically significant for each dielectric.
170
   I obtain similar results when the overcharge is allowed to vary for two-year and three-year periods. Further, Dr.
  McClave is wrong when he claims that the sub-periods cannot be made any shorter than 6 years. He has no basis
  for this claim. Dr. McClave’s justification for not permitting the overcharge to vary by time is that doing so
  creates issues related to multicollinearity. I explain below that his concern is misplaced. I also note that Dr.
  McClave conducts a sensitivity analysis, which allows for a different overcharge in the first half and second half
  of the class period, but he ignores the implications of his own results. His estimates show that there are
  differences over time. Notably, Dr. McClave argues that non-conspiratorial price effects should be flexible and
  “vary over time,” but that conspiratorial price effects (i.e., his estimated overcharge) should not be permitted to
  vary over time. See McClave Report, p. 7.



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blue bars indicate positive and statistically significant overcharges and the black bars indicate
negative and statistically significant overcharges.

80.     As shown in Exhibit 14, allowing for the possibility of a different overcharge by year for
aluminum capacitors, there are negative and statistically significant overcharges in the first ten
years of the class period. Dr. McClave’s model shows positive and statistically significant
overcharges only in 2012 and 2013. I observe similar results for Dr. Singer.171




171
   When I conduct the same test on Dr. Singer’s regression, there are no positive and statistically significant
  overcharges for the majority of the class period for different sub-types of aluminum capacitors. The test shows
  positive and statistically significant overcharges only in 2012 and 2013 for aluminum 04 type, aluminum screw,
  and aluminum snap in can capacitors, and only in 2002, 2012, and 2013 for aluminum chip capacitors. Further,
  the test shows no positive and statistically significant overcharges for aluminum polymer capacitors. In fact, the
  estimated overcharges are negative and statistically significant in the majority of the class period for all aluminum
  sub-types of aluminum capacitors.



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                                                                         EXHIBIT 14
                                                ESTIMATED OVERCHARGES FOR ALUMINUM CAPACITORS
                                                        USING DR. MCCLAVE’S REGRESSION
                                                   ALLOWING THE OVERCHARGE TO VARY BY YEAR
                                                                   2002 – 2013
                              20%



                              15%



                              10%



                               5%
      Overcharge Percentage




                               0%



                              -5%



                              -10%



                              -15%



                              -20%



                              -25%



                              -30%



Source: Dr. McClave’s turnover.

81.                                  Similarly, as shown in Exhibit 15, allowing for the possibility of a different overcharge
by year for tantalum capacitors, there are negative and statistically significant overcharges in the
last ten years of the class period. Dr. McClave’s model shows positive and statistically
significant overcharges only in 2002 and 2003. I observe similar results for Dr. Singer.172




172
   When I conduct the same test on Dr. Singer’s regression, there are no positive and statistically significant
  overcharges for the majority of the class period for different sub-types of tantalum capacitors. The test shows
  positive and statistically significant overcharges only before 2007 for tantalum polymer capacitors, only in 2002
  and 2003 for tantalum standard capacitors, and no positive and statistically significant overcharges for tantalum
  wet capacitors. In fact, the estimated overcharges are negative and statistically significant in the majority of the
  class period for all tantalum sub-types.

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                                                                     EXHIBIT 15
                                            ESTIMATED OVERCHARGES FOR TANTALUM CAPACITORS
                                                    USING DR. MCCLAVE’S REGRESSION
                                               ALLOWING THE OVERCHARGE TO VARY BY YEAR
                                                               2002 – 2013
                              20%



                              15%



                              10%



                               5%
      Overcharge Percentage




                               0%



                              -5%



                              -10%



                              -15%



                              -20%



                              -25%



                              -30%



Source: Dr. McClave’s turnover.

82.                              Finally, as shown in Exhibit 16, allowing for the possibility of a different overcharge by
year for film capacitors, there are negative and statistically significant overcharges in the first ten
years of the class period. Dr. McClave’s model shows positive and statistically significant
overcharges only in 2012 and 2013. I observe similar results for Dr. Singer.173




173
   When I conduct the same test on Dr. Singer’s regression, there are no positive and statistically significant
  overcharges for the majority of the class period for film capacitors. The test shows positive and statistically
  significant overcharges only in 2012 and 2013. The estimated overcharges are negative and statistically
  significant for the other ten years.

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                                                                        EXHIBIT 16
                                                   ESTIMATED OVERCHARGES FOR FILM CAPACITORS
                                                        USING DR. MCCLAVE’S REGRESSION
                                                   ALLOWING THE OVERCHARGE TO VARY BY YEAR
                                                                   2002 – 2013
                              20%



                              15%



                              10%



                               5%
      Overcharge Percentage




                               0%



                              -5%



                              -10%



                              -15%



                              -20%



                              -25%



                              -30%



Source: Dr. McClave’s turnover.

83.                                  Next, I conduct an additional test to illustrate that when Dr. McClave’s overcharge
variable is allowed “flexibility” in the same manner that he chooses for his time trend, the results
are consistent with those described above.174 Crucially, this approach does not rule out the
possibility that there is only a single level shift in prices paid resulting from the alleged conduct
as Dr. McClave assumes. Put differently, if Dr. McClave’s restrictive assumption on the uniform
effects of the alleged conduct over time were correct, this test would have yielded the same result




174
   McClave Report, p. 7. Specifically, I do so by including interaction terms between his class period indicators and
  his two time variables.



                                                                             63
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as his.175 Here too, statistical testing strongly rejects Dr. McClave’s assumption that the
estimated overcharges for each dielectric are uniform over time during the class period.176 The
exhibits below show estimated overcharges by month for each dielectric. Each bar represents the
estimated overcharge for a month during the class period. The blue bars indicate positive and
statistically significant overcharges, the black bars indicate negative and statistically significant
overcharges, and the red bars indicate not statistically significant overcharges.

84.      As shown in Exhibit 17, when I allow for the possibility that the effects of the alleged
conduct varied over time for aluminum capacitors in the same manner that Dr. McClave allows
his time trend to be flexible (leaving his model otherwise unchanged), the majority of the class
period shows negative and statistically significant overcharges. Dr. McClave’s model shows
positive and statistically significant overcharges only in some months in 2012 and 2013. I
observe similar results for Dr. Singer.177




175
   If it were the case that the alleged conduct resulted in a single price shift that lasted throughout the 12-year
  conduct period, the coefficients of the two newly included variables would not have been statistically different
  from zero. Instead, the variables are highly statistically significant. In fact, the p-value of every coefficient,
  including those of the two additional variables, is less than 0.001. As I explain below, this shows that the
  “potential problem” that Dr. McClave asserts about multicollinearity is misplaced (see, McClave Report, footnote
  31).
176
   The statistical test used is an F-test of the hypothesis that the coefficients of the interaction terms of his class
  period indicators and his time variables are not statistically distinguishable from zero (see, Wooldridge, 4th ed.,
  pp. 143-148). The F-statistic is highly statistically significant for each dielectric.
177
   When I conduct the same test on Dr. Singer’s regression, there are no positive and statistically significant
  overcharges for the majority of the class period for different sub-types of aluminum capacitors. The test shows
  positive and statistically significant overcharges only in some months in 2013 for aluminum 04 type, only in some
  months in 2012 and 2013 for aluminum screw and aluminum snap in can capacitors, and only in some months in
  2002 and 2013 for aluminum chip capacitors. Further, it shows no positive and statistically significant
  overcharges for aluminum polymer capacitors. In fact, the estimated overcharges are negative and statistically
  significant in the majority of the class period for all aluminum sub-types.

                                                           64
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                                       EXHIBIT 17
                    ESTIMATED OVERCHARGES FOR ALUMINUM CAPACITORS
                            USING DR. MCCLAVE’S REGRESSION
                   ALLOWING HIS OVERCHARGE TO BE “FLEXIBLE” OVER TIME
                             JANUARY 2002 – DECEMBER 2013




Source: Dr. McClave’s turnover.

85.     Similarly, as shown in Exhibit 18, when I allow for the possibility that the effects of the
alleged conduct varied over time for tantalum capacitors in the same manner that Dr. McClave
allows his time trend to be flexible (leaving his model otherwise unchanged), the majority of the
class period shows negative and statistically significant overcharges. Dr. McClave’s model
shows positive and statistically significant overcharges only in some months in 2002. I observe
similar results for Dr. Singer.178


178
   When I conduct the same test on Dr. Singer’s regression, there are no positive and statistically significant
  overcharges for the majority of the class period for different sub-types of tantalum capacitors. The test shows
  positive and statistically significant overcharges only in some months in 2002 and 2003 for tantalum polymer
  capacitors, and only in some months in 2002 for tantalum standard capacitors. Further, the test shows no positive


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                                        EXHIBIT 18
                     ESTIMATED OVERCHARGES FOR TANTALUM CAPACITORS
                             USING DR. MCCLAVE’S REGRESSION
                    ALLOWING HIS OVERCHARGE TO BE “FLEXIBLE” OVER TIME
                              JANUARY 2002 – DECEMBER 2013




Source: Dr. McClave’s turnover.

86.     Finally, as shown in Exhibit 19, when I allow for the possibility that the effects of the
alleged conduct varied over time for film capacitors in the same manner that Dr. McClave allows
his time trend to be flexible (leaving his model otherwise unchanged), the majority of the class
period shows negative and statistically significant overcharges. Dr. McClave’s model shows




  and statistically significant overcharges for tantalum wet capacitors. In fact, the estimated overcharges are
  negative and statistically significant in the majority of the class period for all tantalum sub-types.



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positive and statistically significant overcharges only in some months in 2013. I observe similar
results for Dr. Singer.179

                                                   EXHIBIT 19
                       ESTIMATED OVERCHARGES FOR FILM CAPACITORS
                            USING DR. MCCLAVE’S REGRESSION
                   ALLOWING HIS OVERCHARGE TO BE “FLEXIBLE” OVER TIME
                              JANUARY 2002 – DECEMBER 2013




Source: Dr. McClave’s turnover.

87.     Thus, the results of my testing reject Dr. McClave’s and Dr. Singer’s restrictive
assumption that the alleged conduct had the same or uniform effect over time for a given
dielectric (or sub-type). The testing shows that when their estimated overcharges are allowed to


179
   When I conduct the same test on Dr. Singer’s regression, there are no positive and statistically significant
  overcharges for the majority of the class period for film capacitors. The test shows positive and statistically
  significant overcharges only in some months in 2013. The estimated overcharges are negative and statistically
  significant for the first ten years.

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be “flexible” over time, their models yield negative and statistically significant overcharges for
most of the class period. This demonstrates that their approach is incapable of disentangling
conspiratorial and non-conspiratorial price effects during the class period. Accordingly, their
estimated overcharges are not causally linked to the alleged conduct, but a byproduct of the
restrictive assumption they imposed on the pricing data.

88.        To the extent Dr. McClave and Dr. Singer attempt to dismiss this critical issue by
claiming that the testing is problematic, they are incorrect. Once the requisite statistical testing
has rejected pooling of sales over time to estimate a single average overcharge for a given
dielectric (or sub-type), there is no valid basis to do so. Moreover, Dr. McClave’s stated concern
about multicollinearity is misplaced.180 As stated in the Reference Manual on Scientific
Evidence, multicollinearity arises when the correlation of two or more explanatory variables
leads to difficulty in “distinguish[ing] among competing explanations for the movement in the
outcome variable.”181 The Reference Manual, however, also explains that “[f]ortunately, the
reported regression statistics take into account any multicollinearity that might be present.”182 In
fact, according to the ABA publication on the application of econometrics to antitrust issues,
“[t]he practical implication of substantial multicollinearity is that standard errors tend to be large
relative to the parameter estimates. As a result, a variable may be statistically insignificant in the
sense that the researcher cannot reject a hypothesis that a coefficient on that variable is equal to
zero.”183 This, however, is not the case here. The coefficients are precisely estimated and highly


180
   McClave Report, p. 13. Dr. McClave states that “while division of the Class Period into sub-periods can
  introduce a statistical problem, using only two relatively long time periods is less likely to cause the problem than
  including three or more shorter sub-periods.” He further claims that “the potential problem is multicollinearity,
  where the sub-periods become correlated with other variables in the model, particularly the time variables, and
  can result in unreliable estimates of the sub-period overcharges.” In Dr. McClave’s and Dr. Singer’s own
  regressions, however, their time variables are highly correlated. The correlation coefficient of their linear time
  variable and quadratic time variable is 0.97 (where a correlation coefficient of 1 indicates a perfect positive
  correlation).
181
   Federal Judicial Center, Reference Manual on Scientific Evidence 432 (3d ed. 2011) (“Reference Manual on
  Scientific Evidence”), p. 324.
182
      Reference Manual on Scientific Evidence, p. 324.
183
   ABA Section of Antitrust Law, Econometrics, Second Edition, 2014, p. 105. “If multicollinearity is less than
  perfect…the regression coefficients, although determinate, possess large standard errors (in relation to the
  coefficients themselves), which means that the coefficients cannot be estimated with great precision or accuracy.”
  See Damodar N. Gujarati, Basic Econometrics, Fourth Edition, 2003 (“Gujarati 4th Edition”), p. 344. In fact, a
  leading econometrics textbook states: “In one situation, however, multicollinearity may not pose a serious


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statistically significant. Accordingly, Dr. McClave has no reliable basis to claim that
multicollinearity is a concern.184 In fact, in doing so, he makes one of the “several technical
mistakes frequently made by practitioners that can be easily avoided [i.e.,] believing that
multicollinearity creates bias, or invalidates inference. No bias is created by
multicollinearity.”185

89.     These findings are crucial for a number of reasons. Even taking his regression models at
face value, it is not possible to reconcile Dr. McClave’s overall conclusions related to the effects
of the alleged conduct with the finding that his own regression (altered only to allow for the
possibility of different overcharges over time) shows negative statistically significant
overcharges for each dielectric for most of the class period. The results show that his approach is
incapable of disentangling conspiratorial and non-conspiratorial price effects during the class
period. Thus, his methodology is unreliable and incapable of showing economic injury to direct
purchasers resulting from the alleged conduct.

             2. Dr. McClave’s and Dr. Singer’s Inappropriate Choices with Respect to Their
                Treatment of Supply and Demand Factors Result in Their Finding of
                Overcharges

90.     I analyze Dr. McClave’s methodology by examining the influence of his supply and
demand variables on the estimated overcharges that his regression estimates and find that his
estimated overcharges for aluminum and film capacitors are driven solely by his quadratic time


  problem. This is the case when R2 is high and the regression coefficients are individually significant as revealed
  by the high t values.” See Gujarati, 4th edition, p. 370.
184
   In Dr. McClave’s reply report during the class certification phase, he conflates the precision of an estimator
  (measured by the standard error) with the bias of an estimator (measured as the difference between the coefficient
  and its true value) and makes the incorrect claim that the “inclusion of both the time variables and … yearly
  indicators results in unreliable estimates of the coefficients of [the] yearly indicators.” Multicollinearity does not
  cause biased coefficients. In other words, multicollinearity itself does not lead to incorrect coefficients. The
  potential consequence of multicollinearity is large standard errors which could result in a lack of statistical
  significance of an estimate. When coefficients are statistically significant, Dr. McClave has no reliable basis to
  claim that “because of multicollinearity, [the] interpretation of the yearly indicator coefficients as a measure of
  annual overcharges is unreliable and misleading.” See Rebuttal Expert Report of James T. McClave, Ph.D., April
  28, 2017, p. 15.
185
   Kennedy, P. A Guide to Econometrics. 5th ed. 2003, p. 402. “Beginning students of methodology occasionally
  worry that their independent variables are correlated – the so-called multicollinearity problem. But
  multicollinearity violates no regression assumptions. Unbiased, consistent estimates will occur, and their standard
  errors will be correctly estimated. The only effect of multicollinearity is to make it hard to get coefficient
  estimates with small standard error.” See Gujarati 4th Edition, citing Christopher Achen, p. 348.



                                                          69
